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            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                              Abingdon Division


UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )    MEMORANDUM OPINION
                                              )    Criminal No. 1:07cr00005
                                              )
JAMES FREDERICK BYRD and                      )
BYRD BROTHERS, INC.,                          )
        Defendants                            )


      This matter is before the undersigned on the motion of Byrd Brothers, Inc.,
(“Byrd Brothers”), to order the preservation and production of notes of the
investigating government agents, (Docket Item No. 52), (“the Motion”). The
Motion was heard before the undersigned on June 26, 2007.


      The defendant Byrd Brothers argues that the government should be ordered
to preserve and produce the original handwritten notes prepared by the investigating
agents during interviews of any witnesses, the co-defendant or any agents of Byrd
Brothers. Byrd Brothers argues that the government has an obligation to produce
these notes pursuant to Federal Rule of Criminal Procedure 16, the Jencks Act, 18
U.S.C. § 3500, Brady v. Maryland, 373 U.S. 83 (1963), or the court’s previous
discovery order. The government argues that the court has no authority to order
production of the investigating officers’ handwritten notes for any interview for
which it has produced a written summary. Furthermore, the government has agreed


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to provide the agents’ handwritten notes for any interview for which it has not
produced a written summary. A review of each of the purported sources of authority
cited by Byrd Brothers reveals that none gives the court the authority to order the
production of the handwritten notes of the investigating agents for interviews for
which summaries have been provided.


      Rule 16 requires the government to disclose the following statements to a
criminal defendant:
      1)     The substance of any relevant oral statement made by the
             defendant in response to interrogation by a person the defendant
             knew was a government agent, if the government intends to use
             the statement at trial;
      2)     Any relevant written or recorded statement made by the
             defendant;
      3)     The portion of any written record containing the substance of
             any relevant oral statement made by the defendant in response
             to interrogation by a person the defendant knew was a
             government agent;
      4)     The defendant’s recorded testimony before a grand jury relating
             to the charged offense.

See FED. R. CRIM. P. 16. If the defendant is an organization, the government also
must disclose any of the statements listed above, if the government contends that
the person making the statement was legally able to bind the defendant regarding
the subject of the statement or the person making the statement was personally
involved in the alleged conduct constituting the offense and was legally able to bind
the defendant regarding that conduct. See FED. R. CRIM. P. 16. Rule 16 further
provides, however, that it “does not authorize the discovery or inspection of reports,
memoranda, or other internal government documents made by an attorney for the
government or other government agent in connection with investigating or

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prosecuting the case.” FED. R. CRIM. P. 16(a)(2).


         The Jencks Act provides that the court may, after a government witness has
testified on direct examination, order production of any statement of the witness
in the possession of the government which relates to the subject matter of the
testimony of the witness. See 18 U.S.C.A. §3500(b) (West 2000). The Act defines
“statement” to include:
         1)    Any written statement made by the witness and signed or otherwise
               adopted or approved by him;
         2)    Any recording, or a transcript thereof, which is a substantially
               verbatim recital of an oral statement made by the witness and
               contemporaneously recorded; and
         3)    The witness’s grand jury testimony.
See 18 U.S.C.A. §3500(e) (West 2000). Under Brady, 373 U.S. at 87, the
government must produce any material evidence in its possession which is
favorable to the defendant. On February 23, 2007, the court entered its standard
discovery order recognizing the that United States Attorney’s office in Abingdon
generally complies with “open file” discovery, including production of the materials
described in Rule 16(a)(1). (Docket Item No. 24.) The order further noted that,
insofar as the government had an obligation to produce materials pursuant to Brady,
373 U.S. at 87, that obligation exists regardless of any specific direction of the
court.


         The Fourth Circuit has ruled that the Jencks Act does not require the
production of agents’ handwritten notes which were made in the course of


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interviewing a witness and which were later incorporated into a formal summary
report because such notes are not “statements” within the meaning of the act. See
United States v. Hinton, 719 F.2d 711, 722 (4th Cir. 1983). The Fourth Circuit also
has ruled that production of an agent’s formal report containing summaries of a
defendant’s statements complied with the government’s obligations under Rule 16
and Brady. See United States v. Crowell, 586 F.2d 1020, 1029 (4th Cir. 1978).
Regarding Byrd Brothers argument that production of the agents’ handwritten notes
are required by Brady, it is important to note that Byrd Brothers has proffered no
evidence that the written summaries are inaccurate. See Crowell, 586 F.2d at 1029.
Furthermore, the court’s February 23, 2007, order imposed no additional production
obligations. That being the case, the Motion will be denied.


                                       ENTER: July 5, 2007.


                                      /s/     Pamela Meade Sargent
                                            UNITED STATES MAGISTRATE JUDGE




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